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Case No.

 

IN THE SUPREME COURT OF ILLINOIS

 

SARINA ERVIN, }
Petitioner/Appellee, ) Petition for Leave to Appeal from
the Appellate Court, Second District,
) No, 2-19-0625
) On Appeal from the Circuit Court
) of Lake County, Nineteenth Judicial
) District, No. 04D1943
v, }
) The Hon. Stacey Seneezko,
) Judge Presiding.
RAYMOND ERVIN, )
Respondent/Appellant. }
)
And )
}
GWENDOLYN BARLOW, )
Appellant. )

 

 

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Pursuant to Illinois Supreme Court Rule 315, Respondents Raymond N. Ervin and
Gwendolyn M. Barlow respectfully request that this Court grant them leave to appeal
from the August 20, 2019 decision of the Illinois Appellate Court, Second District,
denying rehearing of the Respondent’s Petition for Rehearing and stay of all matters, and
the July 24, 2019 decision denying Respondent’s Notice of Appeal. In the alternative,
pursuant to Illinois Supreme Court Rule 317, Respondents Raymond N. Ervin and
Gwendolyn M. Barlow respectfully request that this Court grant them leave to appeal
from the August 20, 2019 decision of the Ilhnois Appellate Court as a Matier of Right.

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STATEMENT OF JURISDICTION
Illinois Supreme Court Rule 315 and IHinois Supreme Court Rule 317 confers
jurisdiction upon this Court. The Appeliate Court issued its Decision on August 20, 2019,
and a petition for rehearing was filed August 18, 2019. The filing of this petition for leave
to appeal on September 24, 2019 is timely.

POINTS RELIED UPON

Respondent Raymond Ervin (“Raymond”) has stated a claim for violation of his
rights under the Due Process and Equal Protection Clauses of the [linois Constitution.
Raymond has alleged that the registration of a foreign country child support order in
Illinois by Petitioner (“Sarina”), without due process, deprives him of the guaranteed
right of notice, given to other Respondents that are ordered to pay child support in the
State of [Llinois, thus treating similarly situated persons ordered to pay child support

unequally in violation of the Equai Protection Clause of the illinois Constitution,

The underlying issue in this case is whether Sarina can enforce a matrimonial
order entered by a foreign country that lacked personal jurisdiction over Raymond and

subject matter jurisdiction, The Appellate Court’s decision was completely out of step

with the sarlier decision in 2004 of the Lake County Circuit Court wherein the court

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vacated the Canadian decree for lack of subject matter jurisdiction. Not only did the
 

 

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decision of the Appellate Court conflict with the 2004 order, the 2007 order purporting to

register the Canadian decree conflicted with the 2004 order within the same circuit court.

 

Without intervention by the Supreme Court, the decision stands to invalidate the binding
precedent and chill the rights of due process and equal protection for the residents of
Illinois. See Clubb v. Clubb, 402 U1. 390, 84 N.E.2d 366 (IIL, 1949); Marriage of

Mullins, inre, 48i N.E.20 322, 135 ii. App.3d 279, 39 ili. Dec. 77i (iil. App., 1985). The

Appellate Court did not cite or distinguish any of these decisions.

The Appellate Court declined to address whether an order that lacks subject

matter jurisdiction and personal jurisdiction is void and should be vacated. By doing so,

protection in direct conflict with the Hlinois Consitution. See Marriage of Mullins, In re,
481 N.E.2d 322, 135 LApp.3d 279, 89 Il. Dec. 771 (IL App., 1985); Earle v. McVeigh,
91 US 503, 23 L Ed 398; Pennoyer v. Neff (1877) 95 US 714, 24 L Ed 565.

The Appellate Court declined to address the improper surrender of exempt life
insurance policies ordered by the circuit court in conflict with the language in 735 ILCS
5/2-1401 and 735 ILCS 5/2-1402. By refusing to address this matter, the Appellate Court
acquiesced to the misapprehension of the legislative intent when drafting the statute. See

Itasca Bank v. Thorlief Larsen, 352 Il. App. 3d, 262 Cll, App. 2004).

Finaily, the Appellate Court, in the August 20, 2019 order siaied that the order of
July 24, 2019, where the appeal was denied due to lack of jurisdiction, remains extant.
The July 24, 2019 order stated “THIS ORDER IS FINAL AND SHALL STAND AS
THE MANDATE OF THIS COURT.” Yet, on September 24, 2019, the Appellate Court
issued an order, on its own motion, recalling the mandate issued on July 24, 2019 and
granting Sarina’s motion for rule to show cause for indireci civil coniempi. The Appeiiaie

Court previously entered an order in direct conflict on October 19, 2018 where the court

 

stated “The appeilee’s renewed motion for sanctions is denied this court no longer having

 

jurisdiction to rule. Ifthe court denied the appeal for lack of jurisdiction and issued the
mandate, then how can the same court, who denied an order because “this court no longer

having jurisdiction to rule.” now recali a mandate, grant appeliice’s motion for ruie to
 

 

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show cause for indireci civil coniempi. This iatesi ruling by the Appeiiate Court runs

afoul of the notice of fair play and the constitutional norms of equal protection.

This Court’s review is imperative because this case presents an issue of great

“general importance” under IJIinois Supreme Court Rule 315 and alternatively, Illinois

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STATEMENT OF FACTS AND PROCEDURAL HISTORY

Initially the State of Illinois filed a case to enroll the Canadian judgment (using
case number 00 D 2667) as part of ihe Titie iV case on behaif of the Province of Ontario
Canada in 2001, who had previously provided Petitioner public assistance in Canada
where she resided with the minor children at the time. As a condition of the public
assistance, Petitioner assigned her rights to collect under the judgment to the Province of
Ontario (EX0005), This case was dismissed because the state failed to produce a
certified order to enroll the judgment (HZ X6006). Some years later in 2004, Sarina iiied
her request to enroll the Canadian judgment using the same case number 00 D 2067. It is
then, that Judge Winter vacated the Canadian judgment based on lack of subject matter

jurisdiction. (EX0607).

in 2016, Sarina’s first series of Citation to Discover Asseis were filed based on two
vacated orders. Her first citations included an order vacated by Judge Waller (EX0008-
EX6013). Upon admonishment from the Court her counsel then attached the order that
had been vacated by Judge Winter in 2004. Raymond presented and the court granted a
motion to quash ail of the citations on February 10, 2017 (EX0014-EX0063) with the
court admonishing Petitioner’s counsei for submitting a citation sworn io as a valid
judgment when in fact it contained a vacated judgment. The Court denied Petitioner’s

subsequent motion for leave to amend with the Canadian order,

Subsequently, Sarina filed another round of citations using the same order that
had been vacated on February 10,2017 to the same parties. The newly filed citations

were not certified, did not contain a valid and enforceable judgment or an affidavit
 

 

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provided to demonsirate thai new matter had been presented in coniravention to SCR 27

and ILCS 735 2-1402.

The Court, before granting the order quashing the citations, pursued a line of

questioning in light of binding precedent, however, in opposition to precedent proceeded

15, 2017 without Raymond’s consent.

Sarina issued another citation against Raymond and Third-Party Respondent
Gwendolyn M. Barlow (“Barlow”) with the same vacated Canadian decree on or about
July 7, 2017. Raymond filed motions to dismiss the citations and to reconsider, however
the Court denied the motions. Subsequently, the court allowed Sarina to continue with

supplementary proceedings using the vacated Canadian decree.

The Court sua sponte issued a renewed body attachment for Raymond on March
6, 2019 (EX0064-EX0071) even though he was not represented, had no notice and was
not part of the scheduled hearing. The Court had also issued a previous body attachment,
without notice, which had expired February 20, 2019 and had not been renewed
(£X000072).

Third Party Respondent Barlow filed a proper Motion for Substitution of Judge,
which was subsequenily denied by the Court on May 9, 2018 (EX0673). The case was
reassigned to a different judge on or about September 15, 2018 when Barlow filed
another proper Motion for Substitution of Judge, prior to any substantive ruling as
required by statute. The Motion was granted, and the case was then assigned to the Judge

Seneczko.

Barlow filed motions to dismiss the citations and to reconsider, however the court denied
all motions and Sarina continued with supplementary proceedings of Barlow relying on
the same vacated Canadian decree. Based on the rulings of the court and in light of the
lack of subject matter jurisdiction, Barlow filed the appeal and petition for rehearing,

however the Appellate Court denied the appeal and subsequent motion for rehearing.

 

 
 

 

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Matter of Sound Judicial Discretion as the [linois Supreme Court assures a uniform
body of law

The Appellate Court, once again, conflicts with its earlier decisions and renders
orders that are not in step with binding precedent of both State and Federal law, If an
order is rendered without jurisdiction of the parties or the matter, itis void and should be
reversed and vacated. The Appellate Court in its October 19, 2018 order clearly finds that
it no longer has jurisdiction to rule on the appellee’s motion, however nearly one year
later in a similar situation, the court grants appellee’s motion for rule to show cause.
Raymond and Gwendolyn, and any future litigants, who are subject to the inconsistent
rulings of ine Appellate Couri, are treated unequaliy than similarly situated iitigants who
are respondents in lawsuits. The history of this matter demonstrates that the law which
should work for each of us only works for some of us. This Court’s review is necessary
to render a judicial opinion that Appellate Districts within the State of [llinois are one
Appellate Court and should rule consistently with precedent. When decisions from
differeni disiricts are in coniilici, it becomes impossibie to follow one without violating
another. It is the obligation of the Tlincis Supreme Court to always assure a uniform

body of law. The rule of law should benefit all of us.

CONCLUSION

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Por all of the reasons sti above, Fe

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grant this Petition for Leave to Appeal and reverse the Second District’s August 20, 2019

ruling.

Respectfully submitted,

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By: /s/ Gwendolyn M. Barlow
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and Gwendolyn Barlow

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